                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00359-CV


                        Allyson R. Oliver and William C. Oliver
                                           v.
                               Wells Fargo Bank, N.A.


                                 On appeal from the
                 County Court at Law No. 5 of Nueces County, Texas
                        Trial Cause No. 2014-CCV-60666-5


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed. The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are adjudged against

appellant.

      We further order this decision certified below for observance.

September 2, 2016
